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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,



                      Plaintiff,                   Civil Action No. 1:21-cv-02886-FYP

               v.

BERTELSMANN SE & CO. KGaA,
PENGUIN RANDOM HOUSE, LLC,
VIACOMCBS, INC., and
SIMON & SCHUSTER, INC,

                      Defendants.




              JOINT MOTION FOR ENTRY OF A STIPULATED ORDER
             ON THE USE OF CONFIDENTIAL INFORMATION AT TRIAL

       Pursuant to the Court’s instruction at the July 25, 2022 Pretrial Conference, the Parties

have met and conferred regarding the attached Proposed Stipulated Order on the Use of

Confidential Information at Trial. Accordingly, the Parties respectfully request that the Court

enter the attached Proposed Order.
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                             Respectfully submitted,

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